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               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

AUSTIN VAN OVERDAM,                     §
   Plaintiff,                           §
                                        §
 v.                                     § CIVIL NO. 4:18-cv-02011
                                        §
 TEXAS A&M UNIVERSITY,                  §
    Defendant.                          §
                                        §
                                        §

  MOTION TO STAY DISCOVERY PENDING RULING ON MOTION TO DISMISS

       Van Overdam was suspended from Texas A&M for anally penetrating a

female student without her consent. He now seeks to depose her, along with

an assortment of Texas A&M officials—including the President—and states

that written discovery is on its way. Texas A&M asks this Court to stay all

discovery until the Court rules on the pending Motion to Dismiss.

                                 Background

       This Court granted Texas A&M’s Motion to Dismiss but allowed

Plaintiff to replead. Minute Entry, October 23, 2018. Plaintiff did, and Texas

A&M has a pending Motion to Dismiss the amended complaint. See Dkts. 21,

26 (fully briefed as of January 11, 2019).

       This Court issued a scheduling order on April 29 setting a discovery

deadline of November 1, 2019. Shortly thereafter, counsel for Plaintiff

inquired about deposition dates for the female student and 8 Texas A&M

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officials/former officials. Many of these officials had nothing to do with Van

Overdam’s disciplinary hearing in the summer of 2016 and the request to

depose them is simply a harassing fishing expedition—including the request

to depose Texas A&M’s president.1 See Exhibit A, Declaration of Kristen

Harrell. Additionally, counsel indicated that written discovery was “coming

out to [Texas A&M] right away.” See Exhibit B.

       At that time, the parties discussed (over email and telephone) but could

not agree to stay discovery pending resolution of the Motion to Dismiss,

which precipitated this motion.

                                Argument & Authorities

       This Court may grant a stay to prevent unnecessary discovery during

the pendency of a motion to dismiss. Mcpeters v. Lexisnexis, 2011 WL

13253446, at *1 (S.D. Tex. October 5, 2011) (Ellison, J.); Petrus v. Bowen, 833

F.2d 581, 583 (5th Cir. 1987) (district court has broad discretion to issue

order deferring discovery while 12(b)(6) motion was pending and district

court was within its discretion to do so).

       This Court has broad discretion to “stay discovery until preliminary

questions that may dispose of the case are determined.” Fujita v. U.S., 416 F.

App’x. 400, 2011 WL 721515, at * 2 (5th Cir. March 2, 2011). Under Rule 26,



1Texas A&M may need to file several motions for protective orders should Plaintiff notice those
depositions.

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the Court may stay discovery for “good cause,” such as finding that discovery

will impose undue burden or expense without aiding the resolution of the

dispositive motions and that discovery may not be proportional to the needs

of the case at this time. Id.; FRCP 26.

      Among the factors courts consider when deciding whether to stay

discovery pending the ruling on the motion to dismiss are: (1) the breadth of

discovery sought; (2) the burden of responding to such discovery; and (3) the

strength of the dispositive motion filed by the party seeking the stay. Von

Drake v. Nat’l Broadcasting Co, Inc., 2004 WL 1144142, at *1 (N.D. Tex. May

20, 2004). “The issuance of the stay may be particularly appropriate where

the disposition of a motion to dismiss might preclude the need for discovery

altogether thus saving time and expense.” Mcpeters, 2011 WL 13253446, at

*1 (citations and quotations omitted).

      Indeed, no discovery is necessary at this stage because resolution of the

pending Motion to Dismiss is based on the face of the complaint. Mcpeters,

2011 WL 13253446, at *1 (granting stay and stating that motion to dismiss is

evaluated on the complaint, thus discovery is unnecessary). Thus, all

discovery sought at this point is unnecessary and unduly burdensome. It is

also not proportional to the needs of the case at this time because there is no

need for any discovery.



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      Here, Van Overdam seeks to depose 8 Texas A&M witnesses and the

female student he was found to have sexually assaulted. He also states that

written discovery is on its way. The burden on Texas A&M and the witnesses

is a given. Witnesses will need to be prepared and sit for a deposition.

Counsel in Austin will have to travel to College Station to prepare witnesses

and attend depositions, all at a cost to the State. It is unclear how

burdensome written discovery will be, but it is obvious that responding to any

written discovery will be burdensome when contrasted with the benefit to the

case given the pending motion. And preparing witnesses to testify and

presenting them will be time consuming.

      Additionally, because several of the potential deponents have no

apparent connection to the investigation and disciplinary hearing in this

case, if this Court does not issue an order staying discovery, Texas A&M will

likely file motions seeking protection for certain specific depositions. This

will create an additional burden on the parties and the Court.

      Moreover, Texas A&M has already prevailed in its first Motion to

Dismiss and the same reasoning that governed the Court’s granting of that

motion still exists. Plaintiff’s complaint has not materially changed. And if

Texas A&M prevails in its motion, this case will be dismissed. Any discovery

conducted would be a waste of time and resources for the parties and the

Court.

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      Accordingly, Texas A&M respectfully asks this Court to grant this

motion and issue an order staying all discovery until this Court rules on the

pending Motion to Dismiss.


                                   Respectfully submitted,

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                       CERTIFICATE OF CONFERENCE

      On May 6, 2019 I had a phone conversation with Gaines West and he

confirmed for me that he is opposed to this motion.

                                    /s/ Sean Flammer
                                    Sean Flammer


                         CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2019 a true and correct copy of the
foregoing document was served via the Court’s CM/ECF system to all counsel
of record.

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